






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00026-CR






Jebediah Clint Turner, Appellant



v.



The State of Texas, Appellee







FROM THE CRIMINAL DISTRICT COURT OF DALLAS COUNTY


NO. F-0201447-LH, HONORABLE JANICE L. WARDER, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was originally due to be filed on January 21, 2003.  On April
10, 2003, after the reporter failed to respond to the Court's overdue notice, this Court ordered the
preparation and filing of the record no later than May 25, 2003.  The record has not been received.

The court reporter for the Criminal District Court of Dallas County, Ms. Mary Belton,
is ordered to tender the reporter's record for filing in this cause no later than August 19, 2003.  No
further extension of time will be granted.  If she fails to comply with this order, Ms. Belton will be
ordered to show cause why she should not be held in contempt of this Court.

It is ordered July 25, 2003.


Before Justices Kidd, Yeakel and Patterson

Do Not Publish


